                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         WESTERN DISTRICT OF MISSOURI
                               CENTRAL DIVISION


UNITED STATES OF AMERICA,                             )
                                                      )
                              Plaintiff,              )
                                                      )
                       v.                             )      No. 11-4004-02-CR-C-FJG
                                                      )
KRYSTLE ANN GEZENDORF,                                )
                                                      )
                              Defendant.              )

                            REPORT AND RECOMMENDATION
                             CONCERNING PLEA OF GUILTY

       Defendant Krystle Ann Gezendorf, by consent, appeared before the undersigned on June
14, 2011, pursuant to Rule 11 of the Federal Rules of Criminal Procedure, Local Rule 72(c)(1)(j),
and 28 U.S.C. § 636, and has entered a plea of guilty to Count One of the Indictment filed on
January 13, 2011. After cautioning and examining the defendant, under oath, in accordance with
the requirements of Rule 11, it was determined that the guilty plea was made with full knowledge
of the charges and the consequences of pleading guilty, was voluntary, and that the offense to
which the defendant has plead guilty is supported by a factual basis for each of the essential
elements of the offense.
       IT IS, THEREFORE, RECOMMENDED that the plea of guilty be accepted and that
defendant Krystle Ann Gezendorf be adjudged guilty and have sentence imposed
accordingly. [54]
       Failure to file written objections to this Report and Recommendation within fourteen (14)
days from the date of its filing will bar an aggrieved party from attacking such Report and
Recommendation before the assigned United States District Judge. 28 U.S.C. § 636(b)(1)(B).
       Dated this 14th day of June, 2011, at Jefferson City, Missouri.


                                               /s/   Matt J. Whitworth
                                               MATT J. WHITWORTH
                                               United States Magistrate Judge



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